CERTIFIED MAIL #70201290000216723442 | SS A EC | |||

Case Number: 2020-Cl-23993 20200128993 $00806
HEIRS OF FERNANDO MACIAS ET AL
VS. IN THE DISTRICT COURT
131st JUDICIAL DISTRICT
BEXAR COUNTY ET AL BEXAR COUNTY, TEXAS
(Note: Attached document may contain additional litigants). CIT. ATION
"THE STATE OF TEXAS"

DIRECTED TO: BEXAR COUNTY
BY SERVING COUNTY JUDGE NELSON WOLFF

101 W NUEVA 10TH FL
SAN ANTONIO TX 78205

“You have been sued. You may employ an attomey. If you or your attomey do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration of twenty days after you were served this CITATION and PETITION, a defautt judgment
may be taken against you. In addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other parties of
this suit. These disclosures generally must be made no later than 30 days after you file your answer with the clerk. Find out more at
TexasLawHelp.org.” Said ORIGINAL PETIFION — was filed on the 14th day of December, 2020.

ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 2ND DAY OF February A.D., 2021.

 

U ALEWIS Mary Angie Garcia
ATTORNEY FOR PLAINTIFF Bexar County District Clerk
PO BOX 27353 101 W. Nueva, Suite 217

HOUSTON, TX 77227-7353 San Antonio, Texas 78205

 

 

5 By : Laura Castillo, Deputy
HEIRS OF FERNANDO MACIAS ET AL ' Case Number: 20290-CI-23993
VS Officer's Return Court:131st Judicial District Court

BEXAR COUNTY ET AL

Came to hand on the 2nd day of February 2021, A.D., at 3:19 o'clock P.M. and EXECUTED (NOT EXECUTED) by CERTIFIED MAIL, on the

‘day of 20 , by deilvering to: at 101 W NUEVA 40TH FL
SAN ANTONIO TX 78205 a true copy of this Citation, upon which | endorsed that date of delivery, together with the accompanying copy of the
CITATION with ORIGINAL PETITION .

Cause of failure to execute this Citation is

 

Mary Angie Garcia
Clerk of the District Courts of
Bexar County, TX

By : Laura Castillo, Deputy

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CERTIFIED MAIL #70201290000216723466 Bt ee ae | II

Case Number: 2020-C1-23993 PEDIC ARIES S890
HEIRS OF FERNANDO MACIAS ET AL
ye. IN THE DISTRICT COURT
131st JUDICIAL DISTRICT
BEXAR COUNTY ET AL BEXAR COUNTY, TEXAS
(Note: Attached document may contain additional litigants). CITATION
"THE STATE OF TEXAS”

DIRECTED TO: SHERIFF JAVIER SALAZAR

200 N COMAL
SAN ANTONIO TX 78207

"You have been sued. You may employ an attomey. If you or your attorney do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration of twenty days after you were served this CITATION and PETITION, a default judgment
may be taken against you. In addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other parties of
this suit. These disclosures generally must be made no later than 30 days after you file your answer with the clerk. Find out more at
TexasLawHelp.org.” Said ORIGINAL PETITION — was filed on the 14th day of December, 2020,

ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 2ND DAY OF February A.D., 2021.

U ALEWIS Mary Angie Garcia
ATTORNEY FOR PLAINTIFF Bexar County District Clerk
PO BOX 27353 101 W. Nueva, Suite 217

HOUSTON, TX 77227-7353

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HEIRS OF FERNANDO MACIAS ET AL 4 Case Number: 28020-C1I-23993
VS Officer's Return Court:131st Judicial District Court
BEXAR COUNTY ET AL

San Antonio, Texas 78205

 

By : Laura Castillo, Deputy

Came to hand on the 2nd day of February 2021, A.D., at 3:38 o'clock P.M. and EXECUTED (NOT EXECUTED) by CERTIFIED MAIL, on the
day of 20___,_ by deilvering to: at 200 N COMAL SAN
ANTONIO TX 78207 a true copy of this Citation, upon which | endorsed that date of delivery, together with the accompanying copy of the
CITATION with ORIGINAL PETITION .

 

Cause of failure to execute this Citation is

 

Mary Angie Garcia
Clerk of the District Courts of
Bexar County, TX

By: Laura Castillo, Deputy

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Case Number: 2020-CI-23993 PRARGESEIOG! REABHE
HEIRS OF FERNANDO MACIAS ET AL
we IN THE DISTRICT COURT
131st JUDICIAL DISTRICT
BEXAR COUNTY ET AL BEXAR COUNTY, TEXAS
(Note: Attached document may contain additional litigants). CIT. ATION
"THE STATE OF TEXAS"
DIRECTED TO: LAURA BALDITT
7906 MARTINELLI
SAN ANTONIO TX 78253-5042

“You have been sued. You may employ an attomey. If you or your attomey do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration of twenty days after you were served this CITATION and PETITION, a default judgment
may be taken against you. In addition to filing a written answer with the clerk, you may be required to make initial disclosures to the other parties of
this suit. These disclosures generally must be made no later than 30 days after you file your answer with the clerk. Find out more at
TexasLawHelp.org.” Said ORIGINAL PETITION — was filed on the 14th day of December, 2020.

 

 

 

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UA LEWIS Mary Angie Garcia

ATTORNEY FOR PLAINTIFF Bexar County District Clerk

PO BOX 27353 1G1 W. Nueva, Suite 217

HOUSTON, TX 77227-7353 San Antonio, Texas 78205

: By : Laura Castillo, Deput

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HEIRS OF FERNANDO MACIAS ET AL i Case Number: 2020-CI-23993

vs Officer's Return Court:131st Judicial District Court

BEXAR COUNTY ET AL

Came to hand on the 2nd day of February 2021, A.D., at 3:15 o'clock P.M. and EXECUTED (NOT EXECUTED) by CERTIFIED MAIL, on the

‘day of 20 _ by deilvering to: at 7906 MARTINELLI SAN
ANTONIO TX 78253-5042 a true copy of this Citation, upon which | endorsed that date of delivery, together with the accompanying copy of the
CITATION with ORIGINAL PETITION .

 

Cause of failure to execute this Citation is

 

Mary Angie Garcia
Clerk of the District Courts of
Bexar County, TX

By : Laura Castillo, Deputy

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